    Case 17-02082          Doc 2   Filed 10/30/17 Entered 10/30/17 15:29:34                Desc Summons/Ntc
                                         of Pretrial Conf Page 1 of 2
                          United States Bankruptcy Court
                                   District of Connecticut
                                                                                             Filed and Entered
                                                                                                 On Docket
                                                                                             October 30, 2017


In re:
         Mohammad Malik                                                                Case Number: 15−21923 jjt
                                          Debtor*                                      Chapter: 7

         Thomas C. Boscarino, Trustee
                                         Plaintiff(s)
         v.                                                                            Adversary Proceeding
                                                                                       No.: 17−02082 jjt
         Khalid Mamood
                                        Defendant(s)


                             SUMMONS AND NOTICE OF PRETRIAL CONFERENCE
                                   IN AN ADVERSARY PROCEEDING

YOU ARE SUMMONED and required to file a motion or answer to the complaint which is attached to this summons
with the Clerk of the Bankruptcy Court at the address in the lower left corner of this Summons within 30 days after
the issuance of this summons, except that the United States and its offices and agencies shall submit a motion or
answer to the complaint within 35 days.

At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.

                                                  John H. Grasso
                                      Boscarino, Grasso & Twachtman LLP
                                         628 Hebron Avenue, Building 2
                                                     Suite 301
                                              Glastonbury, CT 06033
If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.

YOU ARE NOTIFIED that a Pretrial Conference of the proceeding commenced by the filing of the complaint will be
held at:
                                   United States Bankruptcy Court
                   450 Main Street, 7th Floor Courtroom, Room 715B, Hartford, CT
                                                06103
                                                  at
                                     10:00 AM on January 4, 2018
IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR
CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY
DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.


Date of Issuance: October 30, 2017


By: Karen Van Kruiningen, Deputy Clerk                                         Myrna Atwater
                                                                               Clerk of Court

United States Bankruptcy Court                                                 Tel. (860) 240−3675
District of Connecticut                                                        VCIS* (866) 222−8029
450 Main Street, 7th Floor                                                     * Voice Case Information System
Hartford, CT 06103                                                             http://www.ctb.uscourts.gov
                                                                               Form 115 − kv
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                              CERTIFICATE OF SERVICE OF PROCESS
                                                                                         Case Number: 17−02082


I,_________________________________________(name), certify that service of this summons and a copy of
the complaint was made _________________________(date) by (check one):

      Mail service: Regular, First Class United States mail, postage fully pre−paid, addressed to:




      Personal Service: By leaving the process with defendant or with an officer or agent of defendant at:




      Residence Service: By leaving the process with the following adult at:




      Certified Mail Service on an Insured Depository Institution: By sending the process by certified mail
      addressed to the following officer of the defendant at:




      Publication: The defendant was served as follows:




      State Law: The defendant was served pursuant to the laws of the State of _______________________, as
      follows:




If service was made by personal service, by residence service, or pursuant to state law, I further certify that I am, and
at all times during the service of process was, not less than 18 years of age and not a party to the matter concerning
which service of process was made.

Under penalty of perjury, I declare that the foregoing is true and correct.

____________________          _________________________________________________________________
Date                          Signature
                              _________________________________________________________________
                              Print Name
                              _________________________________________________________________
                              Business Address
                              _________________________________________________________________
                              City/State/Zip
